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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA

Keke AR KR KR RK KR RAR RK KE KK

UNITED STATES OF AMERICA

VS.
ORVILLE JAMES MCINTIRE No. CR 21-14-BLG-SP'W
DOB: XX/XX/2000 PETITION TO OPEN JUVENILE RECORDS

SSN:_XXX-XX-2560

Whereas the above-named defendant entered a plea of Guilty to the offense of Possession of a
Stolen Firearm in violation of 18 U.S.C. § 922(j) in the United States District Court for the
District of Montana, the Petitioner requests all juvenile records pertaining to the defendant,
including law enforcement, Department of Family Services, Department of Corrections records,
and any records of alcohol, drug and mental health treatment, be made available for the purpose

of preparing a Presentence Investigation Report for the Court. '
° P Viol Gatw1e4%
U.S. Probati8n Officer uv

 

 

November 1, 2021
Date

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ORDER

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THE COURT HAVING CONSIDERED THE AFOREMENTIONED PETITION does hereby
order the release of pertinent juvenile records held by any law enforcement agency, Department
of Family Services, or Department of Corrections to the Petitioner or authorized agency of the
United States Probation Office for the purpose of preparing a Presentence Investigation Report for
the Court.

   

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“United States District Judge

 

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Dated this__/ day of November, 2021.
